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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


  Civil Action No. 13-cv-00884-PAB-KMT

  ABBY MARTIN,

         Plaintiff,

  v.

  FRED WEGENER, IN HIS OFFICIAL CAPACITY AS SHERIFF OF PARK COUNTY, CO

         Defendant.


   DEFENDANT FRED WEGENER’S MOTION FOR EXTENSION OF TIME IN WHICH
       TO FILE ANSWER TO PLAINTIFF’S SECOND AMENDED COMPLAINT


         Defendant, Fred Wegener, in his official capacity as Sheriff of Park County, CO, by and

  through counsel, Cathy Havener Greer and Kristin Anderson George, of Wells, Anderson &

  Race, LLC hereby submits its Motion for Extension of Time in Which to File Answer to

  Plaintiff’s Second Amended Complaint as follows:

                                     Certificate of Conferral

         On Tuesday, June 25, 2013, counsel for Defendant sent Plaintiff’s counsel an email

  attempting to confer regarding the proposed extension. On Thursday, June 27, Defendant’s

  counsel received notification that the email could not be sent, so the email was resent that

  morning. See Emails, Exhibit 1. Later on June 27, Defendant’s counsel left a voicemail message

  with Plaintiff’s counsel. Despite the efforts to connect and confer with Plaintiff’s counsel,

  Defense counsel has been unable to do so.
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                                      Background and Motion

         On June 7, 2013, the Court granted Plaintiff’s motion for leave to file her Second

  Amended Complaint. Plaintiff’s Second Amended Complaint removes the Board of County

  Commissioners of Park County, Colorado, as a Defendant, and substitutes Fred Wegener, in his

  official Capacity as Sheriff of Park County, Colorado.

         On or about June 10, Plaintiff’s counsel spoke with Defendant’s counsel, who agreed to

  execute a Waiver of Service upon Fred Wegener. The Waiver was sent on June 11 and executed

  on June 18. Also on June 18, attorneys Cathy Havener Greer and Kristin Anderson George

  entered their appearances on behalf of Defendant Wegener.

         In accordance with F.R.C.P. 4 (d)(3), and the terms of the Waiver, Defendant Wegener

  has 60 days from the time the waiver was sent, or until August 11, 2013, to submit his Answer to

  the Second Amended Complaint. Given both parties’ desire to prevent unnecessary delay,

  Defendant’s counsel agreed that Mr. Wegener would attempt to submit its Answer before that

  deadline, and within 14 days of the date the Waiver was executed, or by July 2, 2013. However,

  given the detailed nature of the Second Amended Complaint and the upcoming holiday,

  Defendant now realizes that he needs additional time to confer with counsel and respond to the

  Second Amended Complaint.

         Therefore, Defendant requests an extension to July 15, thirteen days after the date

  originally agreed upon by Counsel, to submit his Answer. The Answer will be filed before or on

  the same date as the parties file the proposed Scheduling Order and exchange initial disclosures,

  so this extension will not cause any further delay in scheduling, nor will it prejudice either party.

  This is the first extension sought by Defendant to submit its Answer to the Second Amended


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  Complaint, and this proposed deadline is still nearly a month before the deadline set forth in the

  Waiver and in F.R.C.P. 4(d)(3).

         WHEREFORE, Defendant respectfully requests that his Motion be GRANTED and the

  Court Order that Defendant Fred Wegener may file his Answer to the Second Amended

  Complaint on or before July 15, 2013.

         Dated this 27th day of June, 2013.

                                               Respectfully submitted,

                                               S/ Kristin Anderson George
                                               Cathy Havener Greer
                                               Kristin Anderson George
                                               Wells, Anderson & Race, LLC
                                               1700 Broadway, Suite 1020
                                               Denver, CO 80290
                                               T: 303-820-1212
                                               Email: cgreer@warllc.com; kageorge@warllc.com
                                               ATTORNEYS FOR THE DEFENDANT

                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on June 27, 2013, a true and correct copy of the above and
  foregoing DEFENDANT FRED WEGENER’S MOTION FOR EXTENSION OF TIME IN
  WHICH TO FILE ANSWER TO PLAINTIFF’S SECOND AMENDED COMPLAINT was
  electronically filed with the Clerk of Court using the CM/ECF system, which will send
  notification of such filing to the following email addresses:

         Ralph E. Lamar, Esq.
         Email: ralphlamar@ymail.com

          and I hereby certify that I have mailed or served the document or paper to the following
  non CM/ECF participants in the manner (mail, hand-delivery, etc.) indicated by the non-
  participants name:

         Via Electronic Mail:
         Fred Wegener
                                               S/ Barbara McCall
                                               Barbara McCall
                                               Email: bmccall@warllc.com

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